             Case 1:11-cr-00074-RDB Document 106 Filed 08/31/17 Page 1 of 1



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                   (Northern Division)



UNITED STATES OF AMERICA                    *
                                            *    Criminal 11-cr-0074-RDB
    v.                                      *
                                            *
Umar BURLEY                                 *
*        *     *     *      *    *    *     *     *     *       *   *    *       *


                                ENTRY OF APPEARANCE

         Please enter the appearance of G Arthur Robbins and CHESAPEAKE MERIDIAN as

counsel for Defendant Umar BURLEY.


                                      Respectfully Submitted,




                                      ____________/S/___________________
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